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                 UNITED STATES DISTRICT COURT
                CENTRAL DISTRICT OF CALIFORNIA




    UNITED STATES OF AMERICA,          No. CR 09-831 DSF
        Plaintiff,
                                       ORDER RE BRIEFING ON
                    v.                 MOTION FOR REDUCTION OF
                                       SENTENCE (Dkt. 559)
    GREGORY MACDONALD
    BERRY,
        Defendant.



      The government is ordered to file a response to Defendant’s motion
   no later than February 22, 2021. Defendant may file a reply no later
   than April 5, 2021.



      IT IS SO ORDERED.



    Date: January 12, 2021             ___________________________
                                       Dale S. Fischer
                                       United States District Judge
